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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION
    IN RE: AUTOMOTIVE PARTS                        Master File No. 12-md-02311
    ANTITRUST LITIGATION

                                                   Hon. Sean F. Cox
                                                   Mag. Judge R. Steven Whalen

    THIS DOCUMENT RELATES TO:

    ALL END-PAYOR ACTIONS


    FINANCIAL RECOVERY SERVICES, LLC’S MOTION TO INTERVENE

         PLEASE TAKE NOTICE that, upon the accompanying memorandum,

   Financial Recovery Services, LLC d/b/a/ Financial Recovery Strategies (“FRS”),

   by its undersigned attorneys, will move this Court, before the Honorable Sean F.

   Cox, at the United States District Court for the Eastern District of Michigan, at a

   time and place set by the Court, for an Order pursuant to Federal Rule of Civil

   Procedure 24(a), permitting FRS to intervene in this action and for such other and

   further relief as the Court deems just and proper. 1

         In a telephonic conference on June 15, 2020, counsel for FRS explained to

   Class Counsel the nature of the motion and its legal basis and requested Class



         1
           In particular, FRS respectfully requests that the Court docket FRS’s letter
   briefs dated December 13, 2019, and January 30, 2020, which are attached hereto
   as Exhibits A and B.
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   Counsel’s consent to the relief sought. Class Counsel responded via email that

   Class Counsel object to FRS’s motion. Defendants take no position on the motion.

   Dated: June 18, 2020                   Respectfully submitted,

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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION
    IN RE: AUTOMOTIVE PARTS                 Master File No. 12-md-02311
    ANTITRUST LITIGATION

                                            Hon. Sean F. Cox
                                            Mag. Judge R. Steven Whalen

    THIS DOCUMENT RELATES TO:

    ALL END-PAYOR ACTIONS



               MEMORANDUM OF LAW IN SUPPORT OF
    FINANCIAL RECOVERY SERVICES, LLC’S MOTION TO INTERVENE
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                                ISSUE PRESENTED

   Should Financial Recovery Services, LLC d/b/a/ Financial Recovery Strategies

   (“FRS”) be permitted to intervene in the End-Payor Actions?

         FRS says “Yes.”




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                                   INTRODUCTION

         Financial Recovery Services, LLC d/b/a Financial Recovery Strategies

   (“FRS”) has been retained by several automobile insurers (the “Insurers”) that are

   members of the End-Payor Settlement classes in this MDL to pursue recovery of

   settlement amounts that are due to the Insurers as a result of the payments they

   made to class members for eligible vehicles that were deemed a total loss (“Total

   Loss Vehicles”). 2 As alleged in this MDL, the settling Defendants’

   anticompetitive conduct increased the market price of class members’ vehicles.

   The Insurers’ payments to their insureds for Total Loss Vehicles included

   compensation for the overcharges that their insureds incurred as a result of the

   alleged antitrust conspiracy when they purchased those vehicles. Accordingly,

   under principles of equitable subrogation recognized in GEICO Corp. v. Autoliv,

   Inc., 345 F. Supp. 3d 799 (E.D. Mich. 2018), the Insurers “succeed[] to the rights

   of [their] insureds in order to require [Defendants] to reimburse” the Insurers “for

   the payment[s] [they] ha[ve] made to [their] insureds arising from the losses they

   sustained in purchasing [vehicles] at supra-competitive prices.” Id. at 832.




         2
            The End-Payor Settlement classes include those who, during the class
   periods, purchased or leased a new vehicle that contained at least one automotive
   part alleged to have been impacted by Defendant’s anticompetitive conduct. See,
   e.g., Order Granting Final Approval to the Round 3 Settlements, In re Wire
   Harness Sys., No. 2:12-cv-00103, PageID.20398-20419, ECF No. 628.
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         FRS has pursued these claims on behalf of the Insurers by submitting claims

   and through discussions and correspondence with Counsel for End-Payor Plaintiffs

   (“Class Counsel”). In the course of those communications, Class Counsel made

   clear that they did not agree that the Insurers were entitled to any recovery on

   account of payments made to insureds for Total Loss Vehicles. The difficulty and

   expense associated with fully documenting the Insurers’ claims – covering many

   thousands of vehicles and claims paid over more than two decades – will be

   substantial, to say the least. FRS and Class Counsel therefore agreed that the

   threshold legal issue – that is, whether the Insurers are subrogated to insureds’

   claims for Total Loss Vehicles to the extent of the Insurers’ indemnity payments to

   the insureds – would be submitted to the Court for resolution. Pursuant to that

   agreement, FRS submitted a letter motion to the Court on December 13, 2019,

   setting forth the legal basis for the Insurers’ claims; Class Counsel submitted a

   response on January 16, 2020, and FRS replied on January 30, 2020. 3

         Although the Court docketed Class Counsel’s January 16 response, it did not

   docket the letter briefs FRS had submitted. When FRS inquired, Judge Battani’s

   staff suggested to FRS that, in order to obtain the Court’s resolution of the issue, it

   may need to intervene in the action. As set forth below, under the circumstances,

         3
            The FRS submissions are attached as Exhibits A and B to the Leibell
   Declaration, filed herewith. At the Court’s direction, those submissions may be
   refiled upon the granting of this motion to intervene.

                                              2
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  the requirements for intervention as of right are met: FRS and the Insurers assert

  an interest in the End-Payor Settlements; the ability to protect that interest may be

  impaired if the Court does not rule on FRS’s motion for declaratory relief; Class

  Counsel (which oppose the Insurers’ recovery) do not represent FRS’s or the

  Insurers’ interests; and the motion – which comes before the current claim filing

  deadline, before the Settlement Administrator has completed processing proofs of

  claim, and before any settlement funds have been distributed – is timely. See infra

  pp. 11-18. Furthermore, intervention is intended solely to give effect to the

  procedure to which Class Counsel already agreed: submission for the Court’s

  determination of the discrete legal issue concerning the Insurers’ subrogation

  rights, thus paving the way for the appropriate resolution of any claims. That

  procedure will contribute to “the just, speedy, and inexpensive determination” of

  this action. Fed. R. Civ. P. 1.

        Class Counsel have nevertheless informed FRS that they oppose

  intervention. Accordingly, FRS respectfully requests that the Court grant FRS’s

  request to intervene; declare that the Insurers, as subrogees to their insureds, may

  recover for Total Loss Vehicles from the End-Payor Settlements; and clarify that

  the Insurers may supplement their claims in accordance with the Court’s resolution

  of the threshold legal issue.




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                                    BACKGROUND

  I.      Nature and Current Status of the End-Payor Actions

          This MDL consists of class actions alleging that Defendants, who are

  manufacturers and suppliers of automotive parts, unlawfully agreed to fix the

  prices of those parts. Consumers and businesses purchased or leased vehicles

  containing those parts, or indirectly purchased replacement parts, at prices elevated

  as a result of Defendants’ conduct.

          Those consumers and businesses – so-called End-Payor Plaintiffs – have

  settled with 73 Defendants in four groups, or “rounds.” The Court has already

  entered final judgments approving each of the Round 1, Round 2, and Round 3

  Settlements. In August 2019, the Court authorized Class Counsel to disseminate

  notice of the Round 4 Settlements to class members, and ruled that “all members of

  the Round 1, 2, 3, and 4 Settlement Classes who have not previously filed claims”

  could do so on or before December 31, 2019.4 The Court subsequently extended

  that deadline twice, and the current claims-filing deadline is the date of this filing,

  June 18, 2020. 5 The Court also originally scheduled a fairness hearing for the



          4
         See Order Granting Authorization to Disseminate July 2019 Notice, In re
  Heater Control Panels, No. 2:12-cv-00403, PageID.10398-10399, 10401, ECF
  No. 291.
          5
              See Order, PageID.37511, ECF No. 2032; Order, PageID.37658, ECF No.
  2044.

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  Round 4 Settlements to take place on December 10, 2019, but that hearing was

  postponed indefinitely, 6 and the End-Payor Plaintiffs’ motion for final approval of

  the Round 4 Settlements remains pending.

 II.    FRS’s and the Insurers’ Subrogation Interests

        The Insurers retained FRS to file and manage their claims in this MDL’s

  End-Payor Settlements. Leibell Decl. ¶ 3.7 As discussed in briefing previously

  submitted to the Court, the doctrine of subrogation permits the Insurers to recover

  from the End-Payor Settlements. See Exs. A-B. Subrogation is an equitable

  doctrine which “allows insurers to ‘stand in the shoes’ of their insured to seek

  indemnification by pursuing any claims that the insured may have had against third

  parties legally responsible for the loss.” GEICO, 345 F. Supp. 3d at 831 (quoting

  Allstate Ins. Co. v. Mazzola, 175 F.3d 255, 258 (2d Cir. 1999)); see also, e.g., 16

  Couch on Insurance § 222:5 (3d ed.).

        The Insurers’ subrogation claims relate to many thousands of vehicles

  covered by the End-Payor Settlements, each of which the Insurers deemed a total



        6
          The Court has notified the parties that a new date will be scheduled for the
  fairness hearing once all cases have been reassigned.
        7
           Citations to “Leibell Decl.” refer to specific paragraphs of the Declaration
  of Jeffrey N. Leibell, dated June 18, 2020, and attached hereto as Exhibit 1. All
  citations to “Ex. __” refer to the exhibits attached to the Leibell Declaration.
  Citations to “Alarcon Decl.” refer to the Declaration of Randi E. Alarcon, dated
  June 18, 2020, and attached hereto as Exhibit 2.

                                            5
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  loss over a 23-year period. Leibell Decl. ¶ 4. The Insurers benefit from

  subrogation here because, pursuant to insurance contracts, they indemnified

  members of the End-Payor Settlement classes for Total Loss Vehicles, the prices of

  which had been unlawfully inflated by Defendants’ conduct. See Ex. A at 2-7.

  Those indemnity payments were reduced only to reflect depreciation and wear and

  tear; any overcharge reflected in the vehicle purchase prices was not deducted from

  the indemnity payments. Ex. B at 4. Accordingly, by virtue of those payments,

  the Insurers compensated their insureds for those overcharges, and the Insurers are

  subrogated to those class members’ claims to recover from the End-Payor

  Settlements, which are designed to compensate the overcharges that the Insurers

  paid. See, e.g., Ex. A at 4-7.

  III.   FRS’s Attempts To Resolve Its Disagreements with Class Counsel and
         FRS’s Motion for Declaratory Relief
         Over the course of more than a year, FRS attempted to reach agreement with

  Class Counsel regarding the Insurers’ right to recover claims from the End-Payor

  Settlements and to establish an efficient mechanism for collecting and submitting

  documentation of those claims. In November 2018, FRS contacted Class Counsel

  to discuss an efficient process for the Insurers to collect and submit the data to

  supplement the preliminary claims that FRS had previously filed on behalf of the




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  Insurers, which claims did not yet contain any vehicle-specific information. 8 See

  Ex. C at 1. In December 2018, FRS continued to discuss these issues with Class

  Counsel, including the legal bases for the Insurers’ subrogation claims. See Ex. D.

        In January 2019, FRS and Class Counsel met and conferred by phone about

  the parties’ positions and the best way to proceed. Leibell Decl. ¶ 5. In

  anticipation of that call, FRS provided to Class Counsel a research memorandum in

  support of FRS’s position. Id.; Ex. D. During that call, Class Counsel disagreed

  with FRS that the Insurers, as subrogees, may recover from the End-Payor

  Settlements, and they referred FRS to legal authority they believed supported their

  position. See Ex. E at 1; Leibell Decl. ¶ 6. The parties also “discussed the

  mechanism for bringing this issue to the attention of the Court in the event that



        8
          The Insurers’ claims for Total Loss Vehicles did not include descriptions
  of the vehicles because of the substantial burden and expense that would be
  required to identify, collect, and marshal the data and documents necessary to
  prepare each of the Insurers’ full proofs of claim for thousands, if not tens of
  thousands, of Total Loss Vehicles. See Leibell Decl. ¶ 6. With respect to Total
  Loss Vehicles, FRS supplemented those claims by letter dated March 9, 2020, in
  which FRS advised the Settlement Administrator, with copies sent to Class
  Counsel, that, should the Court grant FRS’s request to recognize the Insurers as
  subrogees as to Total Loss Vehicles, FRS would further supplement the claims.
  See id. ¶ 10; Ex. H. FRS asked the Settlement Administrator to “advise FRS
  immediately” if it has “any objection” to the supplementation process proposed by
  FRS. Ex. H at 1-3. Neither the Settlement Administrator nor Class Counsel has
  ever advised FRS of any objection to the supplementation process proposed in
  FRS’s March 9 letter. See Leibell Decl. ¶ 10. By email dated June 18, 2020, FRS
  supplemented the proofs of claim previously submitted by two Insurers that had
  retained FRS after March 9. See id. ¶ 11; Ex. I.

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  [they] continued to disagree.” Ex. E at 1. Class Counsel suggested that the

  Insurers should file claims, wait for them to be rejected, and then appeal that

  rejection to the Court. Id.; Leibell Decl. ¶ 6. In response, FRS explained why it

  would not be practical to submit claims for many thousands of Total Loss Vehicles

  before resolving the threshold legal question whether such claims would be

  permitted. Ex. E at 1; Leibell Decl. ¶ 6. In the interest of avoiding litigation, the

  sides “agreed to discuss the matter further at a later point.” Ex. E at 1; Leibell

  Decl. ¶ 6.

        In June 2019, Class Counsel sought authorization to disseminate notice of

  the Round 4 Settlements to potential class members and asked the Court to set a

  deadline for the filing of Round 4 Settlement claims. See Mot. for Authorization to

  Disseminate June 2019 Notice, In re Heater Control Panels, No. 2:12-cv-00403,

  PageID.10087-10117, ECF No. 288. In September 2019, the Court authorized that

  dissemination and set a deadline of December 31, 2019 to file proofs of claims in

  the Round 4 Settlements. See Order Granting Authorization to Disseminate July

  2019 Notice at 4-5, 7, In re Heater Control Panels, No. 2:12-cv-00403,

  PageID.10398-10399, 10401, ECF No. 291. In October 2019, “[w]ith the

  December 31, 2019 filing deadline approaching,” FRS once again contacted Class

  Counsel “to reach an agreement or to seek the Court’s assistance” regarding

  “whether auto insurers may recover from the [End-Payor] settlements the


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  indemnity payments they made for eligible vehicles that were deemed a total loss.”

  Ex. E at 1-2. FRS tried one last time to persuade Class Counsel of its position,

  providing them with a draft letter FRS intended to submit to the Court about the

  Insurers’ subrogation claims. Id. at 1. On November 2, 2019, however, Class

  Counsel responded that “there is no question that Auto Insurers are not class

  members and therefore have no rights as class members or as subrogees of class

  members.” Ex. F, Letter at 1. By late November 2019, it had become clear that

  the two sides were at an impasse and that their dispute would need to be submitted

  to the Court. To facilitate resolution of that dispute, FRS and Class Counsel

  agreed on a briefing schedule. See Ex. G at 1-2.

        Pursuant to that schedule, FRS submitted a letter motion to the Court on

  December 13, 2019, requesting an order declaring that the Insurers may recover

  from the End-Payor Settlements as subrogees. Ex. A at 1-2. On January 16, 2020,

  Class Counsel filed their opposition to FRS’s motion. See End-Payor Pls.’ Resp.

  to Financial Recovery Strategies’ Req. for Declaratory Relief, PageID.37513-

  37539, ECF No. 2034. They asserted, inter alia, that the Insurers, “in their

  capacity as subrogees, are not class members,” id. at PageID.37520, and that the

  total-loss payments Insurers made to class members do not cover the “same loss”

  as the antitrust injury suffered by those class members, id. at PageID.37518. On




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  January 30, 2020, FRS submitted a reply letter brief refuting those arguments.

  Ex. B.

           Neither of FRS’s letter briefs was docketed (though Class Counsel’s

  response was docketed). After FRS’s initial letter brief was not docketed, FRS

  contacted Judge Battani’s Chambers to inquire regarding the status of its motion,

  including whether FRS’s letter briefs would be docketed. Alarcon Decl. ¶ 3. At

  that time, Chambers advised that FRS may need to intervene to perfect the

  submission of its motion and obtain the relief it sought. Id. FRS accordingly seeks

  to intervene for that purpose.

                                   LEGAL STANDARD

           “On timely motion, the court must permit anyone to intervene who . . .

  claims an interest relating to the property or transaction that is the subject of the

  action, and is so situated that disposing of the action may as a practical matter

  impair or impede the movant’s ability to protect its interest, unless existing parties

  adequately represent that interest.” Fed. R. Civ. P. 24(a)(2). Thus, to intervene as

  of right under Rule 24(a)(2), one must show (1) a substantial legal interest in the

  case, (2) possibility of the impairment of the ability to protect that interest in the

  absence of intervention, (3) inadequate representation of that interest by the parties

  already before the court, and (4) timeliness of the application. Mich. State AFL-

  CIO v. Miller, 103 F.3d 1240, 1245 (6th Cir. 1997). “Members of a class have a


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  right to intervene if their interests are not adequately represented by existing

  parties.” Standard Fire Ins. Co. v. Knowles, 568 U.S. 588, 594 (2013) (brackets

  omitted).

                                          ARGUMENT

  I.     FRS May Intervene As of Right

         FRS satisfies all of the requirements of Rule 24(a)(2) and therefore “must

  [be] permit[ted] . . . to intervene.”

         A.     FRS and the Insurers Have a Substantial Legal Interest in This
                Case
         FRS and the Insurers have a substantial legal interest in this case because the

  Insurers have claims, as subrogees, to funds in the End-Payor Settlements, and

  FRS has a contractual right to share in the proceeds of those claims. The Sixth

  Circuit “has opted for a rather expansive notion of the interest sufficient to invoke

  intervention [as] of right.” Miller, 103 F.3d at 1245. Thus, for example, “an

  intervenor need not have the same standing necessary to initiate a lawsuit,” and

  “close cases should be resolved in favor of recognizing an interest under Rule

  24(a).” Id. at 1245, 1247. This case, moreover, is not a “close” one because it is

  well settled that a “subrogation interest warrants . . . intervention under Rule

  24(a).” Maricco v. Meco Corp., 316 F. Supp. 2d 524, 527 (E.D. Mich. 2004).9


         9
          See also, e.g., Krueger v. Cartwright, 996 F.2d 928, 932 (7th Cir. 1993)
  (“[An] insurer who is partially subrogated may intervene . . . to protect its pro rata

                                             11
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  And, on behalf of the Insurers, FRS claims a right to be paid a portion of the End-

  Payor Settlements, which is part of the “the property or transaction that is the

  subject of the action.” Fed. R. Civ. P. 24(a)(2); see also Leibell Decl. ¶ 3

  (explaining FRS’s contingent interest in Insurers’ recovery).

        B.     FRS Will Not Be Able To Protect Its Interests Absent
               Intervention Because Class Counsel Do Not Represent Those
               Interests
        FRS will not be able adequately to protect its interests in the Settlements

  absent intervention, given Class Counsel’s opposition to the Insurers’ recovery.

  Where, as here, a subrogee standing in the shoes of absent class members alleges

  that class counsel do not adequately represent its interests, the second and third

  elements of the intervention test – possibility of impairing the movant’s interests

  and inadequacy of representation – collapse into a single inquiry. See 3 Newberg

  on Class Actions § 9:34 (5th ed.) (“[A]n allegation of inadequate representation

  should be sufficient to meet the test that the intervenor show her interests will be

  impaired absent intervention.”). Both elements require only a “minimal” showing


  share of the potential recovery.”); McDonald v. E.J. Lavino Co., 430 F.2d 1065,
  1071 (5th Cir. 1970) (“Since [insurer’s] purpose in moving to intervene was to
  protect its subrogation interest . . . , it is clear that the proposed intervention was
  cognizable as intervention of right under Rule 24(a)(2).”); Schmid v. Bui, 2020 WL
  377821, at *4 (N.D. Ohio Jan. 22, 2020) (insurer seeking to protect its subrogation
  interest “easily satisfies” Rule 24(a)(2)); Lemaster v. Taylor Indus., LLC, 2011 WL
  1577808, at *1 (E.D. Ky. Apr. 26, 2011) (holding insurer had “an identifiable
  interest in funds that are the subject of litigation – namely, the damages it hopes to
  collect as a subrogee”).

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  that impairment and inadequacy of representation are merely possible. Miller, 103

  F.3d at 1247. FRS need not show actual impairment or “that the representation

  will in fact be inadequate.” Id.

        In this case, Class Counsel have already acknowledged that they do not

  represent the interests of FRS or the Insurers because Class Counsel do not

  consider FRS or the Insurers, in their capacity as subrogees, to be members of the

  End-Payor Settlement classes. See Ex. F, Letter at 1 (“there is no question that

  Auto Insurers are not class members”); ECF No. 2034, PageID.37520 (“Auto

  Insurers, in their capacity as subrogees, are not class members . . . .”). Indeed,

  Class Counsel are adverse to the interests of FRS and the Insurers and are seeking

  to impair those interests by attempting to exclude Insurers from the End-Payor

  Settlements. In light of these facts, it is beyond dispute that Class Counsel

  disclaim any representation of FRS’s or the Insurers’ interests, let alone

  representation that would be adequate to protect those interests.

        Moreover, FRS and the Insurers (as subrogees) are not adequately

  represented by the current plaintiffs because the former seek to vindicate interests

  that are at least partially “divergent from” the latter. Weaver v. Univ. of

  Cincinnati, 970 F.2d 1523, 1531 (6th Cir. 1992). Namely, the Insurers seek to

  stand in the shoes of class members whom the Insurers indemnified, and they

  thereby seek to recover money that might otherwise be claimed by the already-


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  indemnified class members. 10 Accordingly, the interests of FRS and the Insurers

  “are not aligned” with the interests of the existing parties, and those parties do not

  adequately represent the interests of FRS or the Insurers. Amchem Prods., Inc. v.

  Windsor, 521 U.S. 591, 626 (1997).

        The inadequacy of the existing parties’ representation of FRS’s interests is

  alone “sufficient” to establish the possibility of those interests being “impaired

  absent intervention.” 3 Newberg on Class Actions § 9:34 (emphasis omitted). But

  that conclusion is even clearer here, where there can be no dispute that FRS and

  the Insurers will be unable to protect their interests unless and until they are

  permitted, formally or otherwise, to intervene. The only dispute is when that

  intervention must occur.

        Class Counsel have suggested that the Insurers could obtain a ruling from

  this Court on their rights to recovery after their claims are rejected by the

  Settlement Administrator. See Leibell Decl. ¶ 6. The Court should reject that

  suggestion for two reasons.

        First, the complete documentation and submission of the claims at issue here

  will be an extremely complex, burdensome and expensive process: at issue are



        10
         As FRS has previously explained, payment of settlement funds to class
  members who have already received total loss payments that included
  compensation for overcharges would constitute a double recovery by those class
  members. See Ex. A at 11-12; Ex. B at 1-2.

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  indemnification payments for many thousands of eligible Total Loss Vehicles

  spanning more than two decades in 31 repealer jurisdictions. Leibell Decl. ¶ 4.

  And because Class Counsel do not recognize the Insurers’ right to recover for these

  claims, Class Counsel have refused to reach any agreement on a fair and efficient

  process for estimation of these claims. FRS is confident that, should the threshold

  legal issue be resolved in favor of the Insurers, FRS will be able to come to

  agreement with Class Counsel and the Settlement Administrator on a reasonable

  process for resolution of the Insurers’ claims. And, of course, were the legal

  question resolved against Insurers, no unnecessary expense would be incurred.

  Accordingly, by granting intervention and resolving this question, the Court would

  promote “the just, speedy, and inexpensive determination of [this] action,” Fed. R.

  Civ. P. 1, and permit resolution of the threshold legal issue in the manner to which

  Class Counsel agreed.

        Second, to the extent the Settlement Administrator rejects the Insurers’

  claims, intervention might still be required to challenge that rejection. 11 Under any

  circumstances – and whether or not intervention is ever required to obtain the

  Court’s ruling – there should be no artificial delay of this Court’s resolution of the

        11
           The settlement agreements do not set forth any procedure that specifically
  permits claimants to appeal the Settlement Administrator’s determinations.
  Therefore, unless the Court creates an alternative procedure, intervention may be
  the only procedure available for claimants to seek judicial review of those
  determinations.

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  threshold question of the Insurers’ subrogation rights. Resolving that issue now

  would ensure that the Insurers’ claims can be administered expeditiously and

  appropriately, avoid potential delay in the distribution of the settlement funds, and

  move the End-Payor actions one step closer to a final resolution.

        C.     FRS’s Motion Is Timely
        FRS’s motion is timely because FRS has diligently pursued the Insurers’

  claims as subrogees and because it comes before the claim-filing deadline, before

  the Settlement Administrator has completed processing proofs of claim (audit and

  deficiency letters have not yet been sent), and before the Court has authorized the

  distribution of any settlement funds.

        The timeliness of a motion to intervene is determined by “the context of all

  relevant circumstances.” Jansen v. City of Cincinnati, 904 F.2d 336, 340 (6th Cir.

  1990). The relevant circumstances presented here demonstrate that FRS diligently

  worked for months with Class Counsel to try to reach an agreement about the

  Insurers’ subrogation rights, only to reach impasse. Once it became clear in

  November 2019 that Class Counsel were refusing to protect the Insurers’ interests

  or advance legal arguments to the Court on the Insurers’ behalf, FRS came to the

  Court less than one month later to protect those interests and raise those legal

  arguments itself. See, e.g., United Airlines, Inc. v. McDonald, 432 U.S. 385, 394

  (1977) (intervention timely where it occurred “as soon as it became clear to the



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  [movant] that the interests of the unnamed class members would no longer be

  protected by the named class representatives”); see also Maricco, 316 F. Supp. 2d

  at 527 (intervention timely despite four-month delay).

        FRS did not believe formal intervention was necessary once it reached

  agreement with Class Counsel to present (and did present) the dispute to the Court.

  See Leibell Decl. ¶ 7. However, FRS received contrary guidance from Judge

  Battani’s Chambers, Alarcon Decl. ¶ 3, and when its letter briefs remained

  undocketed, it retained undersigned counsel and now moves for formal

  intervention in deference to the Court’s directions. Under these circumstances,

  FRS’s motion should be considered timely. See Boettcher v. Loosier, 2016 WL

  2654384, at *3 (W.D. Tenn. May 4, 2016) (insurer’s intervention timely where it

  had “participated . . . as if it were a party” before moving to intervene, and

  intervention “would . . . allow the case . . . to conclude in a timely manner”);

  Peterson v. Islamic Republic of Iran, 290 F.R.D. 54, 58 (S.D.N.Y. 2013) (six-

  month delay in seeking intervention was “not . . . excessive” where delay was

  attributable to intervenors’ “good faith belief that they were required to follow” an

  alternative procedure prior to intervening).

        Due to the ongoing public-health crisis and other exigencies, this litigation

  remains in substantially the same place it was when FRS filed its letter motion in

  December: the Court has not yet held a fairness hearing regarding the Round 4


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  Settlements or entered final approval of those settlements, the deadline to file

  claims in the End-Payor Settlements has not yet elapsed, and no settlement funds

  have yet been distributed. Therefore, FRS’s intervention at this time would not

  prejudice any other party’s interests and should be permitted.

  II.   The Insurers Should Be Permitted To Further Document Their Claims
        After the Court Rules on FRS’s Motion for Declaratory Relief
        In granting intervention, the Court should also make clear that the Insurers

  may supplement their claims consistent with the Court’s resolution of the

  subrogation issue. To date, the Insurers have submitted in connection with Total

  Loss Vehicles claims that do not yet include vehicle-specific information because

  gathering and submitting data regarding the many thousands of specific vehicles

  that underlie their subrogation claims would be an enormous task, particularly

  absent guidance from the Settlement Administrator as to what information will be

  adequate. See Leibel Decl. ¶ 4. As discussed above, it would be inefficient and

  impractical to require FRS and the Insurers to undertake that task before the Court

  decides the threshold question whether the Insurers have subrogation rights; by

  contrast, if the Court rules in the Insurers’ favor, FRS is confident that it will be

  able to work cooperatively with the Settlement Administrator to develop an

  appropriate mechanism for submission of claims.

        Such circumstances constitute “good cause” for the Insurers to defer

  supplementation of their claims until after the Court rules on FRS’s motion for


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  declaratory relief. See Fed. R. Civ. P. 6(b)(1). For example, in In re Electrical

  Carbon Products Antitrust Litigation, 622 F. Supp. 2d 144, 165 (D.N.J. 2007),

  certain claimants “filed blank [claim] forms” and completed them after the

  deadline; the district court held that the claims administrator had appropriately

  treated such claims as timely, so long as the claimants acted promptly to

  supplement their claims. The district court noted that it was “certainly

  understandable and likely that a claimant would become aware of its class

  membership before it was able to calculate its claims,” id.; the same is true here.

  Accordingly, the Court should clarify that the Insurers’ claims filed to date are

  sufficient to satisfy the June 18, 2020 deadline for filing of claims. See also In re

  Crazy Eddie Sec. Litig., 906 F. Supp. 840, 845 (E.D.N.Y. 1995) (noting that a

  reasonable time was permitted to cure deficiencies in submitted claims).

                                      CONCLUSION

           The Court should permit FRS to intervene in this action, resolve the legal

  issue presented in FRS’s December 13, 2019 letter motion to the Court, and clarify

  that the Insurers may complete the documentation of their claims after the Court

  rules.




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   Dated: June 18, 2020               Respectfully submitted,

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                            CERTIFICATE OF SERVICE

        I hereby certify that, on June 18, 2020, I electronically filed the foregoing

  document with the Clerk of the Court using the ECF system, which will send

  notification of such filing to counsel of record.



                                                  /s/ Laura S. Faussié
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